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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

VS.                             CASE NO. 4:17-cr-00293-BSM

MARCUS O. MILLSAP, ET AL                                                              DEFENDANTS


                         MOTION FOR EXTENSTION OF TIME
                    TO SUBMIT PROPOSED JUROR QUESTIONNAIRE


       Comes now the Defendant, Marcus O. Millsap, by and through his attorneys, and for his

Motion for Extenstion of Time to Submit Proposed Juror Questionnaire states:

       1.      On January 7, 2021, the Court entered an Order directing the parties to submit a

final jury questionnaire with the questions to which the parties agree and a list of disputed questions

by February 7, 2021. ECF No. 1880 at p. 2.

       2.      Defendant Millsap has sought to retain a jury consultant to assist counsel in

reviewing the Government’s proposed list of questions and developing additional questions to

submit to proposed jurors.

       3.      Millsap’s counsel has received and considered proposals from multiple consultants

and intends to engage one of them beginning next week.

       4.      Millsap requests an extension of time for the parties to submit the proposed juror

questionnaire and disputed questions until March 19, 2021. Considering the September trial date,

the requested extension would still leave ample time for the Court to address disputes and for the
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jury coordinator to distribute the questionnaires to potential jurors, collect their responses, and

provide those responses to counsel well in advance of trial.

       5.      AUSA Stephanie Mazzanti has authorized the undersigned to represent to the Court

that the Government does not oppose this Motion.


                                                     RESPECTFULLY SUBMITTED,

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